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 5 Attorney for Defendant, SYDNEY ALLEN

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 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                          )   Case No.1:15-cr-00170 LJO-SKO
                                                      )
11                  Plaintiff,                        )   STIPULATION AND ORDER FOR
                                                      )   MODIFICATION OF CONDITIONS OF
12          v.                                        )   PRETRIAL RELEASE
                                                      )
13 SYDNEY ALLEN,                                      )
                                                      )
14                  Defendant.                        )
                                                      )
15
                                              STIPULATION
16

17          Defendant SIDNEY ALLEN by and through his counsel of record, Mr. Salvatore Sciandra,

18 and Plaintiff, United States of America, by and through its counsel of record, AUSA Kimberly

19 Sanchez, hereby stipulate to, and request that this Court adopt the request of the parties that the

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     previously imposed pretrial release order that defendant ALLEN participate in a program of
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     location monitoring, including electronic monitoring and the curfew be stricken.
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     ///
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               Counsel has informed Pretrial Services Officer Ryan Beckwith of this stipulation and he has
 1
     no objection.
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 3                                                                Respectfully submitted,

 4

 5 IT IS SO STIPULATED

 6 Dated: August 2, 2016                                          /s/ Salvatore Sciandra
                                                                  SALVATORE SCIANDRA
 7                                                                Attorney for Defendant,
                                                                  SYDNEY ALLEN
 8
     IT IS SO STIPULATED
 9
     Dated August 2, 2016                                         PHILIP A. TALBERT
10
                                                                  Acting United States Attorney
11                                                                Attorney for Plaintiff
                                                                  UNITED STATES OF AMERICA
12
                                                                  By:    Approved in person on July 25, 2016
13                                                                KIMBERLY SANCHEZ
                                                                  Assistant United States Attorney
14

15                                                        ORDER

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17 IT IS SO ORDERED.

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19
     Dated:       August 2, 2016                                           /s/   Sheila K. Oberto        .
                                                               UNITED STATES MAGISTRATE JUDGE
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     U.S. v. VALENTIN QUINTERO-AISPURO
     MOTION TO SUPPRESS EVIDENCE; DECLARATION IN SUPPORT THEREOF AND REQUEST FOR EVIDENTIARY HEARING
     CASE NO.: 1:13-CR-00182-AWI                                                                               2
